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                   EXHIBIT 1
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 June 1, 2023                                                                        Norton Rose Fulbright US LLP
                                                                                     1301 Avenue of the Americas
                                                                                     New York, New York 10019-6022
                                                                                     United States
 VIA E-MAIL
 Brian P. Murray                                                                     Mark A. Robertson
 Holland & Knight LLP                                                                Partner
 150 N. Riverside Plaza, Suite 2700                                                  Direct line +1 212 318 3304
 Chicago, IL 60606                                                                   Mark.robertson@nortonrosefulbright.com

                                                                                     Tel +1 212 318 3000
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 Wilson, Sonsini, Goodrich & Rosati                                                  nortonrosefulbright.com
 1700 K Street NW, Fifth Floor
 Washington, D.C. 20006


 Re:         Bionpharma Inc. v. CoreRx, Inc., Case No. 1:21-cv-10656-JGK-VF (S.D.N.Y.)
             Azurity Pharms., Inc. v. Bionpharma Inc., C.A. Nos. 21-1286 and C.A. 21-1455 (D.Del.)

 Dear Brian and Jeff:

 I write in response to Brian’s letter dated May 25, 2023, in which he informed CoreRx that in the
 lawsuits styled Azurity Pharms., Inc. v. Bionpharma Inc., numbered C.A. No. 21-1286 and C.A.
 No. 21-1455, pending in the United States District Court for the District of Delaware (together,
 the “Azurity v. Bionpharma Lawsuits”), Azurity is “seeking production of the deposition
 transcripts, hearing transcripts, and expert reports” from Bionpharma Inc. v. CoreRx, Inc., Case
 No. 1:21-cv-10656-JGK-VF (S.D.N.Y.), which may contain confidential information from
 CoreRx.

 As long as the deposition transcripts, hearing transcripts, and expert reports are produced in the
 Azurity v. Bionpharma Lawsuits under the protective orders in place in those cases and as long as
 the documents that may contain CoreRx’s confidential information are produced with a
 designation at the same or a higher level of protection as the designation they have under the
 protective order in Bionpharma v. CoreRx, CoreRx does not object to Bionpharma’s production
 of CoreRx’s confidential information described above in the Azurity v. Bionpharma Lawsuits.

 You are authorized to inform the Court during your June 5, 2023 conference in the Azurity v.
 Bionpharma Lawsuits of CoreRx’s position.

 Should you have any questions, please let me know.

 Sincerely,


 Mark Robertson


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 information, are available at nortonrosefulbright.com.
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                   EXHIBIT 2
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                                                U.S. District Court
                                        District of Delaware (Wilmington)
                                 CIVIL DOCKET FOR CASE #: 1:19-cv-02103-MN


 The United States of America v. Gilead Sciences, Inc. et al                            Date Filed: 11/06/2019
 Assigned to: Judge Maryellen Noreika                                                   Jury Demand: Plaintiff
 Cause: 35:271 Patent Infringement                                                      Nature of Suit: 830 Patent
                                                                                        Jurisdiction: U.S. Government Plaintiff
 Plaintiff
 The United States of America                                            represented by Lena A. Yueh
                                                                                        Commercial Litigation Branch
                                                                                        Civil Division
                                                                                        U.S. Department of Justice
                                                                                        Washington, DC 20530
                                                                                        404-639-7122
                                                                                        Email: osh6@cdc.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Amanda Katherine Kelly
                                                                                        DOJ-Civ
                                                                                        1100 L St. NW
                                                                                        Ste 8512
                                                                                        Washington DC, DC 20005
                                                                                        202-532-5026
                                                                                        Email: amanda.k.kelly@usdoj.gov
                                                                                        TERMINATED: 10/05/2022
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Andy J. Miller
                                                                                        Office of the General Counsel
                                                                                        U.S. Department of Health and Human
                                                                                        Services
                                                                                        233 N. Michigan Avenue
                                                                                        Suite 700
                                                                                        Chicago, IL 60601
                                                                                        (312) 886-3603
                                                                                        Email: andy.miller@hhs.gov
                                                                                        TERMINATED: 03/17/2022
                                                                                        PRO HAC VICE

                                                                                        Carrie Rosato
                                                                                        DOJ-Civ
                                                                                        1100 L St. NW
                                                                                        Washington, DC 20005
                                                                                        202-307-0415

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  12/13/2021           238 NOTICE OF SERVICE of Final Invalidity Contentions filed by Gilead Sciences Ireland
                           UC, Gilead Sciences, Inc..(Ewing, Alexandra) (Entered: 12/13/2021)
  12/16/2021           239 NOTICE of Subpoena to FHI360 by Gilead Sciences Ireland UC, Gilead Sciences, Inc.
                           (Attachments: # 1 Exhibit 1)(Ewing, Alexandra) (Entered: 12/16/2021)
  12/16/2021           240 STIPULATION TO EXTEND TIME to submit a Redacted Public Version of the United
                           States of America's Letter to the Honorable Christopher J. Burke re Discovery Dispute to
                           December 23, 2021 - filed by Gilead Sciences Ireland UC, Gilead Sciences, Inc.. (Ewing,
                           Alexandra) (Entered: 12/16/2021)
  12/16/2021                   SO ORDERED D.I. 240 STIPULATION TO EXTEND TIME to submit a Redacted
                               Public Version of the United States of America's Letter to the Honorable Christopher J.
                               Burke re Discovery Dispute to December 23, 2021 filed by Gilead Sciences, Inc., Gilead
                               Sciences Ireland UC. Ordered by Judge Christopher J. Burke on 12/16/2021. (mlc)
                               (Entered: 12/16/2021)
  12/16/2021           241 [SEALED] Letter to Honorable Christopher J. Burke from United States regarding
                           Opposing Defendant's Request For a Protective Order to Quash the Deposition Notice of
                           Mr. Daniel O'Day - re 232 Letter,. (Attachments: # 1 Exhibits A to K, # 2 Certificate of
                           Service)(Anis, Shamoor) (Entered: 12/16/2021)
  12/16/2021           242 [SEALED] Letter to The Honorable Christopher J. Burke from Frederick L. Cottrell
                           regarding Opposition to Government's Motion to Compel - re 232 Letter,. (Attachments:
                           # 1 Exhibits A-T)(Cottrell, Frederick) (Entered: 12/16/2021)
  12/17/2021           243 NOTICE to Take Deposition of Jeremiah Mitzelfelt on January 7, 2022 filed by Gilead
                           Sciences Ireland UC, Gilead Sciences, Inc..(Ewing, Alexandra) (Entered: 12/17/2021)
  12/17/2021           244 NOTICE of Subpoena to Irell & Manella LLP by The United States of America
                           (Attachments: # 1 Exhibit 1)(Holvey, Patrick) (Entered: 12/17/2021)
  12/20/2021                   Minute Entry for proceedings held before Judge Christopher J. Burke - Discovery dispute
                               teleconference held on 12/20/2021. The Court heard the parties' arguments regarding the
                               parties' Joint Motion for Teleconference to Resolve Discovery Dispute. (D.I. 227) After
                               hearing the parties regarding the dispute, the Court resolved two issues on the record and
                               as to those issues, the transcript shall serve as the substance of the Court's Order. The
                               Court took the remaining matters under advisement and will issue a forthcoming order.
                               (Court Reporter Stacy Ingram (Hawkins). Clerk: E. Bryant-Alvarez) APPEARANCES: S.
                               Anis, W. Brown, P. Holvey, and C. Rosato for Plaintiff; F. Cottrell, III, K. Farnan, R.
                               Machen, D. Bassett, and J. Cox for Defendants. (mlc) (Entered: 12/20/2021)
  12/20/2021           245 NOTICE of Appearance by Lucy Grace D. Noyola on behalf of The United States of
                           America (Noyola, Lucy Grace) (Entered: 12/20/2021)
  12/21/2021           246 NOTICE of Appearance by Matthew David Tanner on behalf of The United States of
                           America (Tanner, Matthew) (Entered: 12/21/2021)
  12/21/2021           247 ORAL ORDER: The Court, having reviewed the parties' discovery dispute motion and
                           briefing, (D.I. 227; D.I. 232-33; D.I. 241-42), which involved one dispute raised by
                           Defendants and four disputes raised by Plaintiff ("the Government"), having heard
                           argument during a teleconference on December 20, 2021 in which the Court resolved
                           Defendants' dispute (by GRANTING the requested protective order) and resolved one of
                           the four disputes raised by the Government (by GRANTING its request for discovery
                           relating to Defendant GSIUC), hereby ORDERS as follows with regard to the
                           Government's three remaining disputes: (1) With regard to the request that Defendants
                           produce documents responsive to RFP No. 222 (relating to manufacturing costs and other
                           factors considered by Gilead in determining the initial price of Truvada in 2004), the
https://ecf.ded.uscourts.gov/cgi-bin/DktRpt.pl?432253665620842-L_1_0-1                                                   39/65
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                               request is DENIED. The Court's Default Standard for Discovery, Including Discovery of
                               Electronically Stored Information ("ESI") (the "Default Standard") sets a presumption
                               that discovery from six years or more before the case's filing will not be permitted.
                               Default Standard at Section 4(e) ("Absent a showing of good cause, follow-up discovery
                               shall be limited to a term of 6 years before the filing of the complaint[.]"). Here, in the
                               few sentences of argument on this point in its briefing, (D.I. 232 at 3), the Government
                               does not provide enough information to establish the requisite good cause. During the
                               teleconference, the Government suggested that good cause was established because it was
                               only in 2004, and at no time thereafter, that Defendants had extensive discussions relating
                               to the factors contributing to Truvada pricing decisions. However, that assertion is merely
                               attorney argument, as there is no record evidence before the Court supporting such a
                               conclusion.; (2) With regard to the Government's request that Defendants produce
                               documents responsive to RFP No. 263 (relating to meetings of Gilead's Board of
                               Directors ("Board") or Executive Committee ("EC") that discussed pricing of Truvada for
                               PrEP or Descovy for PreEP or the patents-in-suit from 2007 to present), the request is
                               GRANTED-IN-PART and DENIED-IN-PART. First, to the extent that the Request calls
                               for documents from prior to six years before this suit's filing, for reasons set out above,
                               the Government has not sufficiently demonstrated why it is entitled to such documents.
                               Next, as to documents dating from six years prior to suit and thereafter, the Government
                               provided various articulations as to why such documents might be relevant (i.e., that they
                               are "crucial to understanding Gilead's decision making as it relates to the pricing and
                               sales of the Accused Products for PrEP, Gilead's awareness of the Patents-in-Suit, Gileads
                               decision to file IPR petitions on the Patents-in-Suit, and Gilead's decision to file suit in
                               the Court of Federal Claims"). (D.I. 232 at 3) But as to all of those issues with the
                               exception of pricing, Defendants proffered a declaration indicating that review of an
                               exemplary set of such documents indicates that there are not likely to be any or many
                               non-privileged responsive materials. (D.I. 242, ex. A at para. 10) That leaves the issue of
                               Board/EC meeting documents that relate to pricing; on that front, the Court is not
                               prepared for say (as Defendants would like it to) that such documents are necessarily
                               irrelevant to damages-related issues, such as the calculation of a reasonable royalty. And
                               Defendants do not represent that the Board/EC never received presentations on this topic
                               (indeed, it seems reasonable to the Court that they would have). Therefore, as to this RFP,
                               the Court ORDERS that Defendants should produce responsive documents regarding
                               pricing within the six-year cut off set by the Default Standard, and should do so in a
                               reasonable time period.; and (3) Lastly, with regard to the Government's request that
                               Defendants perform targeted searches for documents from three additional ESI custodians
                               (Daniel O'Day, Dr. Terrance Dahl, and Traci Carrithers), the request is GRANTED-IN-
                               PART and DENIED-IN-PART. As an initial matter, the Court notes that the Default
                               Standard provides that a party must search the ESI of up to 10 custodians, Default
                               Standard at Section 3(a) & 5(b), and Defendants have already done so, (D.I. 242 at 2). So
                               Plaintiff must show good cause as to why more should be required. As to Mr. O'Day, for
                               the reasons the Court expressed on the teleconference, it is skeptical that this witness has
                               a significant amount of non-privileged responsive material. Thus, an insufficient showing
                               has been made to add him as a custodian at this time. With regard to Dr. Dahl, although
                               the Government suggests that he should be added to the custodial list because Defendants
                               rely "extensively" "in [their] invalidity contentions" on a piece of prior art as to which Dr.
                               Dahl was the lead inventor, (D.I. 232 at 2), in reality, this reference is "not among the
                               obvious combinations in Defendants final invalidity contentions[,]" (D.I. 242 at 3) and it
                               is just one of many pieces of prior art referenced in those contentions. Thus, good cause
                               has not been shown here either. As to Ms. Carrithers, it is undisputed that she is included
                               on very relevant communications regarding, inter alia, certain material transfer
                               agreements at issue in this case. (D.I. 232 at 2) Defendants argue that there is nevertheless
                               no need to add Ms. Carrithers as a custodian because she was the assistant to one of their
                               10 custodians (Dr. Bischofberger), and because it is likely that most or all of the
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                               responsive documents in her possession would be cumulative of others already produced.
                               (D.I. 242 at 3) But Defendants bore the burden to demonstrate the likely accuracy of this
                               assertion, and the Court simply does not have the record to conclude that a great deal of
                               such relevant documents in Ms. Carrithers' custody would be cumulative. Therefore, it
                               ORDERS that documents responsive to RFP No. 221 that are in her custody be produced
                               in a reasonable time period.Ordered by Judge Christopher J. Burke on 12/21/2021. (mlc)
                               (Entered: 12/21/2021)
  12/21/2021           248 MOTION for Pro Hac Vice Appearance of Attorney Scott G. Greene - filed by Gilead
                           Sciences Ireland UC, Gilead Sciences, Inc.. (Ewing, Alexandra) (Entered: 12/21/2021)
  12/22/2021                   SO ORDERED re 248 MOTION for Pro Hac Vice Appearance of Attorney Scott G.
                               Greene filed by Gilead Sciences, Inc., Gilead Sciences Ireland UC. ORDERED by Judge
                               Maryellen Noreika on 12/22/2021. (dlw) (Entered: 12/22/2021)
  12/22/2021           249 NOTICE OF SERVICE of (1) Defendants' Sixth Set of Interrogatories to the United
                           States of America and (2) Defendants' Fourth Set of Requests for Admission to Plaintiff
                           filed by Gilead Sciences Ireland UC, Gilead Sciences, Inc..(Ewing, Alexandra) (Entered:
                           12/22/2021)
  12/23/2021           250 REDACTED VERSION of 232 Letter, by The United States of America. (Attachments: #
                           1 Exhibit Redacted)(Anis, Shamoor) (Entered: 12/23/2021)
  12/23/2021           251 REDACTED VERSION of 241 Letter, by The United States of America. (Attachments: #
                           1 Exhibit Redacted)(Anis, Shamoor) (Entered: 12/23/2021)
  12/23/2021           252 REDACTED VERSION of 242 Letter by Gilead Sciences Ireland UC, Gilead Sciences,
                           Inc.. (Attachments: # 1 Exhibit A-T)(Cottrell, Frederick) (Entered: 12/23/2021)
  12/27/2021           253 NOTICE of Subpoena to Michael Hitchcock, PhD by The United States of America
                           (Attachments: # 1 Exhibit 1 & 2)(Holvey, Patrick) (Entered: 12/27/2021)
  12/27/2021                   Pro Hac Vice Attorney Scott G. Greene for Gilead Sciences Ireland UC, and Gilead
                               Sciences, Inc. added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware
                               counsel shall be the registered users of CM/ECF and shall be required to file all papers.
                               (apk) (Entered: 12/27/2021)
  12/30/2021           254 NOTICE to Take Deposition of Sukeethi Seetharaman on January 12, 2022, filed by The
                           United States of America.(Holvey, Patrick) (Entered: 12/30/2021)
  12/30/2021           255 NOTICE to Take Deposition of Stefania Attard on January 11, 2022, filed by The United
                           States of America.(Holvey, Patrick) (Entered: 12/30/2021)
  12/30/2021           256 NOTICE to Take Deposition of Melissa Koomey on January 6, 2022, filed by The United
                           States of America.(Holvey, Patrick) (Entered: 12/30/2021)
  12/30/2021           257 NOTICE of Subpoena to Dana Pizzuti by The United States of America (Attachments: #
                           1 Exhibit 1)(Holvey, Patrick) (Entered: 12/30/2021)
  01/03/2022           258 NOTICE of Appearance of Andy J. Miller by The United States of America (Holvey,
                           Patrick) (Entered: 01/03/2022)
  01/10/2022           259 ORAL ORDER - Consistent with the Scheduling Order, the parties contacted Chambers
                           on 1/7/2022 to request a discovery dispute teleconference date, IT IS HEREBY
                           ORDERED that the discovery disputes referenced in the parties' 1/7/2022 email to
                           Chambers are referred to Magistrate Judge Burke. The parties are directed to file
                           Magistrate Judge Burke's "Motion to Resolve Discovery Dispute" which can be found at
                           https://www.ded.uscourts.gov/judge/magistrate-judge-christopher-j-burke, forms.
                           ORDERED by Judge Maryellen Noreika on 1/10/2022. (dlw) (Entered: 01/10/2022)

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                                                                                                        DISCOVERY-CJB,PATENT

                                             U.S. District Court
                                     District of Delaware (Wilmington)
                            CIVIL DOCKET FOR CASE #: 1:19-cv-00444-CFC-CJB


 BioDelivery Sciences International, Inc. et al v. Chemo Research,                      Date Filed: 03/01/2019
 S.L. et al                                                                             Jury Demand: None
 Assigned to: Judge Colm F. Connolly                                                    Nature of Suit: 835 Patent - Abbreviated
 Referred to: Judge Christopher J. Burke                                                New Drug Application(ANDA)
 Related Cases: 1:16-cv-00175-GMS                                                       Jurisdiction: Federal Question
                 1:16-cv-01303-GMS
                 1:17-cv-00118-GMS
                 1:17-cv-00282-GMS
                 1:18-cv-01395-CFC-CJB
                 1:22-cv-01196-CFC
 Cause: 35:271 Patent Infringement
 Plaintiff
 BioDelivery Sciences International, Inc.                                represented by Jack B. Blumenfeld
                                                                                        Morris, Nichols, Arsht & Tunnell LLP
                                                                                        1201 North Market Street
                                                                                        P.O. Box 1347
                                                                                        Wilmington, DE 19899
                                                                                        (302) 658-9200
                                                                                        Email: Jbbefiling@mnat.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Bonnie Fletcher Price
                                                                                        Email: bfletcherprice@cooley.com
                                                                                        TERMINATED: 08/24/2022
                                                                                        PRO HAC VICE

                                                                                        Charles E. Lipsey
                                                                                        Email: charles.lipsey@finnegan.com
                                                                                        TERMINATED: 10/13/2021
                                                                                        PRO HAC VICE

                                                                                        Daniel G. Chung
                                                                                        Email: daniel.chung@finnegan.com
                                                                                        TERMINATED: 10/13/2021
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Daniele San Roman
                                                                                        Email: Daniele.SanRoman@finnegan.com
                                                                                        TERMINATED: 09/29/2021
                                                                                        PRO HAC VICE
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  01/27/2020           144 ORAL ORDER: The Court, having reviewed the Alvogen Defendants' January 24, 2020
                           letter, (D.I. 115 in Civil Action No. 18-1395-CFC-CJB), concerning the January 27, 2020
                           discovery dispute teleconference in Civil Action No. 19-444-CFC-CJB (the
                           "Teleconference"), hereby GRANTS the Alvogen Defendants' request to participate in the
                           Teleconference. The Alvogen Defendants shall coordinate with the parties to Civil Action
                           No. 19-444-CFC-CJB regarding dial-in information and procedures to facilitate
                           participation in the Teleconference. Ordered by Judge Christopher J. Burke on 1/27/2020.
                           (dlb) (Entered: 01/27/2020)
  01/27/2020                   Minute Entry for proceedings held before Judge Christopher J. Burke - Discovery dispute
                               teleconference held on 1/27/2020. The Court heard arguments from both parties regarding
                               their Motion for Teleconference to Resolve Discovery Disputes. (D.I. 124) The Court
                               took the matters under advisement. (Court Reporter Valerie Gunning. Clerk: A. Schwerin)
                               APPEARANCES: J. Tigan, H. Levine, J. Hasford for Plaintiffs; A. Gaza, S. Wilson for
                               Defendants, A. LaRock, C. Wysocki for Defendants Chemo Research, S.L. and Insud
                               Pharma S.L.U.; G. Godfrey for Defendants IntelGenx Corp. and IntelGenx Technologies
                               Corp; D. Gattuso and S. Sklar for nonparties Alvogen Defendants. (mlc) (Entered:
                               01/30/2020)
  01/29/2020           145 REDACTED VERSION of 133 Opening Brief in Support, by Arius Two, Inc.,
                           BioDelivery Sciences International, Inc.. (Tigan, Jeremy) (Entered: 01/29/2020)
  01/30/2020           146 ORAL ORDER: The Court, having reviewed Defendants' discovery dispute motion, (D.I.
                           124 ), and the parties' letter briefs, (D.I. 127, 135), and having heard oral argument,
                           HEREBY ORDERS as follows with regard to Defendants' assertion that Plaintiffs failed
                           to comply with the Default Standard, (D.I. 127 at 1; D.I. 135 at 1-2): (1) The Court does
                           not agree that Plaintiffs' failure to list the inventors in their Paragraph 3 Disclosures was a
                           violation of the Default Standard, as the inventors do not appear to meet the definition of
                           "Custodians" under Paragraph 3(a). (D.I. 135 at 1); (2) To the extent that Defendants
                           complain that Plaintiffs listed only three custodians, the Court does not have a basis to
                           find that this violates the Default Standard. This is because Paragraph 3(a) does not
                           require a party to list 10 custodians if fewer than that number of persons associated with
                           the party's case actually meet Paragraph 3(a)'s definition of "Custodian[]." Indeed, the
                           Court understands that the respective Defendants here have designated far fewer than 10
                           custodians. And the Court has no basis to believe that Plaintiffs have failed to list persons
                           who otherwise qualify under Paragraph 3(a)'s definition of a "Custodian[]."; (3) With
                           regard to Defendants' complaint that they have not received e-mail from the three listed
                           Paragraph 3 custodians, the Court understands that issue to be moot for now, as Plaintiffs
                           have represented that they are searching for and producing such e-mail.; (4) And with
                           regard to Defendants' request that Plaintiffs reveal their search terms and participate in
                           the process described in Paragraph 5(b) of the Default Standard, the Court agrees with
                           Plaintiffs that the parties seem to have previously understood and mutually agreed that
                           they would not participate in the Paragraph 5(b) process in this case. After all, Defendants
                           did not provide any of their search terms to Plaintiffs during the discovery period. (D.I.
                           135 at 1) At this time, after significant electronic document search efforts have already
                           been completed, the Court will not order the parties to belatedly attempt the Paragraph
                           5(b) process. Moreover, Defendants have not yet made a sufficient case that Plaintiffs'
                           actual production of documents is deficient (such that some late-in-the-game exchange of
                           search terms or some additional searching is otherwise warranted).; (5) For these reasons,
                           Defendants' motion in this regard is DENIED. Ordered by Judge Christopher J. Burke on
                           1/30/2020. (mlc) (Entered: 01/30/2020)
  01/30/2020           147 ORAL ORDER: The Court, having reviewed Defendants' discovery dispute motion, (D.I.
                           124 ), and the parties' letter briefs, (D.I. 127, 135), and having heard oral argument,
                           HEREBY ORDERS that with regard to the dispute about documents between Plaintiffs
https://ecf.ded.uscourts.gov/cgi-bin/DktRpt.pl?938893225291603-L_1_0-1                                                 25/69
